Case 2:07-md-01873-KDE-MBN Document 17103 File lOJI5/10. Page-t-ors
U.S. DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA:

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

FILED) OCT 15 2010
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IN RE: FEMA TRAILER MDL NO. wb
FORMALDEHYDE PRODUCTS SECTION N MAG. 5)
LIABILITY LITIGATION LORETTA G. WHYTE
CLERK
THIS DOCUMENT PERTAINS TO JUDGE ENGELHARDT
Civil Action No. 09-7823
Carolin Belmares, et. al. MAGISTRATE CHASEZ
Vs.
Southern Energy Homes, Inc., et al.
JURY DEMANDED

CERTIFICATE OF COMPLIANCE OF PRETRIAL ORDER NO. 55
Plaintiffs hereby request the Clerk of the Court issue:summons in the above-
referenced matter. All parties have been matched to a manufacturer and contractor.

Respectfully submitted,

/s/ Robert C. Hilliard

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CERTIFICATE OF SERVICE
| hereby certify that the above and foregoing pleading was served on all counsel

of record through electronic notification pursuant to the electronic filing in the United
States District Court for the Eastern District of Louisiana this October 11, 2010

/s/ Robert C. Hilliard

ROBERT C. HILLIARD
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Summons to be issued to the following Defendants:

Southern Energy Homes, Inc.
Bechtel National Inc.

CH2M Hill Construction, Inc.

